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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                          U.S. Magistrate Judge S. Kato Crews

Civil Action No. 19-cv-02871-SKC

ETHEL SUSANNE HALTER,

       Plaintiff,

v.

WELD COUNTY SHERIFF’S OFFICE,
DOES 1 -X INFINATE, and
ROSE 1 -X INFINATE,

       Defendants.


            CONSENT CASE PRACTICE AND TRIAL PREPARATION ORDER


        This Order imposes requirements that supplement the Scheduling Order, this

 Court’s Practice Standards for Civil Cases, and the Discovery Procedures for Pro Se

 Civil Cases (as applicable), in cases where all parties have consented to the

 jurisdiction of this Magistrate Judge. It also explains requirements for trial. This Order

 may not be modified by agreement of the parties.

                                  A. MOTIONS PRACTICE

       1.      Page Limits and Format: All motions shall be doubled-spaced and in 12-

point font. Footnotes should also be in 12-point font. Except motions for summary

judgment, all motions and responses shall not exceed 16 pages. Motions and briefs shall

be combined and are considered one document for purposes of computing page limits.

Replies shall not exceed 11 pages. These page limits include the cover page through the



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certificate of service. Documents attached in support of a motion or response shall not

exceed 10 pages, while documents attached in support of a reply shall not exceed five

pages.

      2.     Surreplies: Surreplies are not allowed without leave of Court.

      3.     Motion to Exceed Page Limits: These motions must be supported by a

showing of good cause and specify the number of additional pages proposed, and the

reason(s) why those pages are necessary.

      4.     Dispositive Motions:

             a. Motions to Dismiss (Fed. R. Civ. P. 12(b)): Rule 12(b) motions are

                discouraged if the defect is correctable by filing an amended pleading.

                Rule 12(b) motions should not be stated in the alternative as a Rule 56

                motion for summary judgment.

             b. Motions for Summary Judgment (Fed. R. Civ. P. 56)

                    i. Motions and responses shall not exceed 21 pages. Replies shall

                       not exceed 16 pages. These page limits include the cover page

                       through the certificate of service.

                    ii. The parties shall file separate Statements of Undisputed Material

                       Facts using the three-column chart found at Attachment 1, as

                       follows:

                          1. For the movant: A separate Statement of Undisputed

                              Material Facts in support of the motion must separately

                              identify each material fact claimed to be without dispute.



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                          Absent prior leave of Court, a movant shall not file more

                          than 80 separately-numbered statements of undisputed

                          material facts. In a three-column format, the statement

                          must state in numerical sequence the undisputed material

                          facts in the first column, followed by a specific reference

                          to material in the record that establishes those undisputed

                          facts in that same column. The pages of the chart are not

                          included in the page limits for motions for summary

                          judgment. There is no page limit on the evidence/exhibits

                          attached in support of the motion.

                       2. For the opposing party: A separate Statement of

                          Undisputed Material Facts in opposition to the motion for

                          summary judgment must contain the following in a three-

                          column format: (a) In the first column, the verbatim entries

                          that were prepared by the movant at step one; (b) In the

                          second column, directly opposite the recitation of the

                          movant’s material facts and supporting evidence, the

                          response must state whether the fact is “disputed” or

                          “undisputed.” An opposing party who contends the fact is

                          “disputed” must state, in the second column of the page

                          directly opposite the fact in dispute, the nature of the

                          dispute followed by a specific reference to material in the



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                          record that supports the position that the fact is

                          controverted. Also in the second column, the opposing

                          party shall set forth any additional material facts which it

                          contends are undisputed, followed by a specific reference

                          to material in the record that establishes those additional

                          material facts as undisputed in that same column. Absent

                          prior leave of Court, a respondent to a summary judgment

                          motion shall not file more than 40 separately-numbered

                          statements of additional facts. The pages of the chart are

                          not included in the page limits for the response. There is

                          no page limit on the evidence/exhibits attached in support

                          of the motion.

                       3. For the movant’s reply filing: A separate Statement of

                          Undisputed Material Facts in support of the motion must

                          contain the following in a three-column format: (a) The first

                          two columns shall contain the verbatim entries prepared

                          by movant at step one, and the verbatim entries prepared

                          by the responding party at step two; (b) In the third

                          column, directly opposite the recitation of the opposing

                          party’s material facts and supporting evidence, the reply

                          must state whether the fact is “disputed” or “undisputed.”

                          The moving party who contends the fact is “disputed” must



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                              state, in the third column of the page directly opposite the

                              fact in dispute, the nature of the dispute followed by a

                              specific reference to material in the record that supports

                              the position that the fact is controverted. Also in the third

                              column, if the moving party contests the opposing party’s

                              dispute of the moving party’s recitation of undisputed

                              material fact, the moving party may make specific

                              reference to any additional supporting material in the

                              record.

                    iii. When making a specific reference to material in the record which

                        establishes a fact, general references are insufficient if the

                        document is longer than one page. A “specific reference” means

                        reference to: 1 a page number; a line number; a paragraph

                        number; a CM/ECF Docket entry number (with additional internal

                        specific reference provided); or any combination of these

                        references to assist the Court to easily locate the pertinent

                        information. The effort at specificity may be further aided by

                        highlighting, underlining, or manually underscoring the pertinent

                        information.

                    iv. In addition to filing its Statement of Undisputed Material Facts



1Only if the nature of the material fact does not permit a specific reference (e.g., “The
contract contains no provision for termination.”) is a general reference sufficient.


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                         with the Court, each party shall provide to the opposing party an

                         editable electronic version of its Statement in Word format for the

                         opposing party’s use in preparing its Statement. Thus, for

                         example, the moving party shall provide its Statement to the

                         opposing party, with the first column completed. The opposing

                         party shall provide its Statement to the moving party, with the first

                         and second columns completed, and so on.

                        B. PROPOSED FINAL PRETRIAL ORDER

       Counsel and any pro se parties shall meet and confer sufficiently in advance of

the Final Pretrial Conference to jointly prepare a proposed Final Pretrial Order. It shall

be filed at least seven days before the combined Final Pretrial Conference/Trial

Preparation Conference, and a Word version should also be emailed to chambers at

Crews_Chambers@cod.uscourts.gov.

       The proposed Final Pretrial Order should reflect the narrowing of issues to those

that will actually be tried, the witnesses that will be called, and the exhibits that will be

presented. The form proposed Final Pretrial Order available on our district court’s website

should be used, incorporating the following changes to that form:

           •   Section 3: Claims and Defenses: Parties are discouraged from submitting

               a narrative summary of the claims, defenses, facts, and legal theories. If a

               narrative summary is submitted, it should not exceed one page, and shall

               be in addition to the following: Separately enumerate each claim and

               affirmative defense (a defense on which the Defendant bears the burden



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                 of proof) that will be tried. (An example is at Attachment 2.) For each claim

                 and affirmative defense designate: 2

                          1. the standard of proof and controlling law; and,

                          2. each element that must be proved. Under each element,

                               identify the facts that establish that element, and reference the

                               witness whose testimony, or the exhibit the contents of which,

                               will establish that fact at trial.

             •   Section 4: Stipulations: To save time and expense, and to focus the

                 trial, the parties shall stipulate to all material facts that are not in

                 dispute. 3 Stipulated facts will be included in a jury instruction given to

                 the jury prior to opening statements.

             •   Section 6: Witnesses: In addition to listing witnesses as required by the

                 form, the parties should also attach their witness lists using the form

                 found here:

                 http://www.cod.uscourts.gov/JudicialOfficers/ArticleIMagistrateJudges

                 /HonSKatoCrews.aspx

             •   Section 7: Exhibits: Only the parties’ exhibit lists should be attached,

                 using the form found here:



2   Any claims or affirmative defenses not specifically identified may be deemed waived.
3 Please be cognizant of the difference between disputing the existence of a fact and
disputing the significance of that fact. A stipulation to the existence of a fact (e.g., that the
sun set at 7:00 p.m. on the day in question) does not prevent the party from arguing the
significance of that fact (e.g., that there was or was not adequate daylight at 7:00 p.m.).


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               http://www.cod.uscourts.gov/JudicialOfficers/ArticleIMagistrateJudges

               /HonSKatoCrews.aspx

        C. COMBINED FINAL PRETRIAL/TRIAL PREPARATION CONFERENCE

       Trial counsel and any pro se parties must appear at the combined Final

Pretrial/Trial Preparation Conference (“Conference”). The Court will review the

proposed Final Pretrial Order with counsel and any pro se parties to determine what

issues will ultimately be tried, what facts can be stipulated to, what factual disputes

require evidence, the time necessary for trial, and other trial related issues. If the case

has not been sufficiently narrowed, an amended final pretrial order may be required.

       Any problems in the trial setting or special needs for witnesses should be

addressed at the Conference. The unavailability of designated witnesses, including

“may call” and “will call” witnesses, will not constitute a basis for delay in or

continuance of the trial. Witnesses should be scheduled and available so the trial will

not be delayed waiting on a witness. Witnesses may be taken “out of turn,” as

necessary, to avoid any lag-time during trial.

                                 D. TRIAL INFORMATION

       1.     Motions in Limine: Motions in limine are allowed and should be filed within

seven days after the Conference. Motions to exclude expert testimony must be filed 30

days after the rebuttal expert witness disclosure deadline unless a different date is

provided in the Scheduling Order.




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       2.      Trial Briefs: Trial briefs are encouraged only where there are unusual issues

of law. They should be filed 14 days before trial. They should not exceed 10 pages and

should not attach exhibits.

       3.      Final Witness and Exhibit Lists: By no later than Noon on the Friday before

the start of trial, the parties shall submit their respective final witness and exhibit lists via

CM/ECF.

       4.      Access to the Courtroom Prior to Trial: The courtroom will be made

available to all parties before the start of trial so that the parties may bring in items for trial

or to test technical equipment. My Courtroom Deputy is Amanda Montoya. She can be

reached at (303) 335-2096. Please contact Ms. Montoya in advance if you would like to

access the courtroom prior to trial.

       5.      Jury Trials:

            a. Proposed Jury Instructions and Verdict Forms: Jury instructions and verdict

               forms shall be both e-filed on CM/ECF, and e-mailed to my chambers

               (Crews_Chambers@cod.uscourts.gov) in Word format, by no later than 14

               days prior to the Conference. Counsel (and any pro se parties) shall confer

               and stipulate to as many instructions as possible. Up to four sets of

               instructions should be submitted to the Court, as necessary: (1) one set of

               stipulated jury instructions; (2) one set of opposed or disputed jury

               instructions; (3) one set of stipulated verdict forms (if any); and/or (4) one

               set of disputed or opposed verdict forms (if any). Jury instructions should




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            be appropriately titled and must include citations to relevant authority

            in footnotes.

         b. Exhibits and Exhibit Notebooks:

                i. Plaintiff’s exhibits should be marked using numbers. Defendant’s

                  exhibits should be marked using letters A through Z, then using A-1

                  through A-99, then B-1 through B-99, etc. There should be no

                  duplicate exhibits between the parties’ lists. The parties must

                  confer and stipulate to the admissibility of as many exhibits as

                  possible.

               ii. There will be no juror exhibit notebooks. Instead, the Court will

                  provide an Elmo projector and television screen for purposes of

                  publishing admitted exhibits to the jury. The parties may use the

                  Elmo system provided by the Court or may bring in their own

                  technology for purposes of publishing exhibits. Questions concerning

                  exhibits and courtroom equipment/technology may be directed to

                  Ms. Montoya.

               iii. Only three exhibit notebooks are necessary to provide: (1) one for

                  the witness stand (containing that party’s original exhibits, properly

                  marked and tabbed, with the pages of each exhibit numbered); (2)

                  one copy for the Court; and, (3) one copy for the Court Reporter (if

                  any).




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            c. Voir Dire: If trial is to a jury, the Court will conduct an initial orientation and

               voir dire. The Court’s voir dire is designed to address issues of juror

               hardship. The Court will leave the inquiry of impartiality and potential juror

               bias to the parties during their voir dire. Unless the Court is persuaded

               otherwise, the parties will be permitted 20 minutes each to conduct voir dire.

               In most circumstances, the Court does not condone inculcating the jury pool

               with specific facts of the case during voir dire. If there are questions about

               whether intended voir dire approaches that line, those questions should be

               raised during the Conference.

            d. Number of Jurors: The jury will normally consist of nine jurors, with each

               side afforded three peremptory challenges. The Court will inform the parties

               of the intended number of jurors for their specific case during the

               Conference.

            e. Notes by Jurors: Jurors will be permitted to take notes during trial.

            f. Time for Giving Jury Instructions: Preliminary instructions will be given prior

               to opening statements. Final instructions will be given after closing

               arguments.

       6.      Transcript of Proceedings: If a court reporter is available, the proceedings

 will be transcribed by the court reporter. If a court reporter is not available, the

 proceedings will be digitally recorded. Any request for transcripts should be directed to

 the courtroom deputy.




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 DATED:     October 25, 2019

                                   BY THE COURT


                                   _____________________________
                                   S. Kato Crews
                                   United States Magistrate Judge




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                                  Attachment 1
           Format for Separate Statement of Undisputed Material Facts

 Movant’s Statement:




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 Opposing Party’s Statement:




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 Moving Party’s Reply Statement:




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                                  Attachment 2
            Format for Section 3 of Proposed Final Pretrial Order Form

 Example:

 Claim 1: Breach of contract under Colorado law: Plaintiff has burden of proof by a
 preponderance of the evidence

       Elements:    (1)-(3) offer, acceptance, consideration
                            (a) the parties stipulate that these elements are satisfied

                    (4) performance by the plaintiff
                           (a) On March 3, 2004, Peter Plaintiff delivered one
                           crate of widgets to Widget Packers, Inc. (Testimony of
                           Peter Plaintiff; Don Defendant; Exhibits 1, 4)
                           (b) The widgets conformed to the specifications in the
                           contract. (Testimony of Peter Plaintiff; Exhibit 2)
                           (c) The widgets were delivered on the date set by the
                           contract. (Exhibit 2)

                    (5) non-performance by the defendant
                          (a) Widget Packers, Inc. failed to remit payment on the
                          terms set by the contract. (Testimony of Barry
                          Bookkeeper; Exhibit 2)
                          (b) Peter Plaintiff has made several written demands for
                          payment. (Peter Plaintiff; Exhibits 3, 5, 7)

                    (6) damages
                          (a) Peter Plaintiff has been damaged in the contract amount
                          of $10,000. (Testimony of Peter Plaintiff; Exhibit 2).

  Claim 2: Unjust Enrichment under Colorado law: Plaintiff has burden of proof on all
  elements by a preponderance of the evidence

        Elements: (1) Defendant has received a benefit
                         (a) On March 3, 2004, Peter Plaintiff delivered one
                         crate of widgets to Widget Packers, Inc. pursuant to
                         a contractual agreement. (Testimony of Peter
                         Plaintiff; Don Defendant; Exhibits 1, 2, 4).

                    (2) the benefit is at the Plaintiff’s expense
                           (a) Widget Packers, Inc. failed to remit payment on the terms
                           set by the contract. (Testimony of Barry Bookkeeper, Exhibit
                           2)


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                     (3) justice requires that Defendant reimburse the Plaintiff for
                     the benefit received
                            (a) The widgets have a market value of $15,000. (Testimony
                            of Peter Plaintiff)
                            (b) Don Defendant is in breach of the contract.
                            (Testimony of Peter Plaintiff)

 Affirmative Defense to Claim 2: Failure to mitigate under Colorado law: Defendant has
 burden of proof on all elements by a preponderance of the evidence

         Elements: (1) Plaintiff had a reasonable opportunity to avoid injury
                           (a) On March 5, 2004, Don Defendant left a message
                           on Peter Plaintiff’s voice mail offering to return the
                           crate of widgets unopened. (Testimony of Don
                           Defendant; Peter Plaintiff)
                           (b) On March 8, 2004, Don Defendant wrote to Peter
                           Plaintiff, offering to assign the contract for the purchase
                           of widgets to WidgetCo. (Don Defendant; Warren
                           Widget; Exhibit 6)

                     (2) Plaintiff unreasonably failed to avail itself of
                     opportunities to avoid injury
                            (a) Peter Plaintiff did not respond to the March 5,
                            2004 message. (Don Defendant)
                            (b) Peter Plaintiff did not respond to the March 8,
                            2004 (Don Defendant)

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